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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


                                                        )
SAMARITAN MINISTRIES INTERNATIONAL,                     )
a religious Illinois non-profit corporation,            )
    6000 N. Forest Park Drive                           )
    Peoria, Illinois 61614,                             )
                                                        )
   and ten of its New Mexico members, namely,           )
                                                        )      Case No. 1:23-cv-1091-MIS-
ZACHARY & RACHEL CORDEL, 662 CR F,                      )      SCY
Clovis, New Mexico 88101,                               )
                                                        )
DAVID ALLAN & MONETTE BELL, 3 Mountain                  )      Jury Trial Requested
Vista Trail, La Luz, NM 88337,                          )
                                                        )
REV. ANDREW & HEATHER HEATH, 1310                       )
Meadow Lane, Roswell, NM 88203,                         )
                                                        )
JAY & AMY O’NEILL, 275 Blue Sky Lane, Mesilla           )
Park, NM 88047, and                                     )
                                                        )
REV. NATHAN & REBEKAH BIENHOFF, 3501                    )
Highland Road, Roswell, NM 88201,                       )      PLAINTIFFS’ SECOND
                                                        )      NOTICE OF
                        Plaintiffs,                     )      SUPPLEMENTAL
            v.                                          )      AUTHORITIES
                                                        )
ALICE T. KANE, in her personal capacity and in her      )
official capacity as the Superintendent of Insurance    )
for New Mexico, 1120 Paseo de Peralta 4th Floor,        )
Santa Fe, NM 87501,                                     )      Oral Argument Requested
                                                        )      on the Pending Motions
                        Defendant.                      )
                                                        )


       Plaintiffs hereby identify Does 1-11 v. Bd. of Regents, 2024 WL 2012317 (10th Cir. May

7, 2024) and its relevance.

   1. Does supports ripeness and preenforcement standing for three independent reasons:

           a. “[Plaintiffs have] standing to seek a preliminary injunction against enforcement of



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           [OSI] Policy because they still suffer a continuing injury from it.” Id. *10.

       b. Plaintiffs “all had reason to believe they would likely be subject to [OSI] Policy,

           and therefore suffer constitutional injury to their [religious] rights.” Id. *6.

       c. “[E]ven [if the] policy is repealed, ‘injunctive relief is still called for’ when

           [Plaintiffs] ‘remain under a constant threat’ that the policy will be reinstated or

           enforced in the future.” Id. *9.

2. Does reinforces that Defendant “bears the burden of proof on the ultimate question of the

   challenged [policy’s] constitutionality[.]” Id. *11.

3. Does explicitly, repeatedly, even structurally (with headings) holds that certain religious-

   freedom violations—such as (a) animus or (b) intrusive inquiries—are “categorically”

   barred, “regardless of any purported government interest.” Id. *12-13. Thus, animus is

   categorically barred with no chance to satisfy strict scrutiny.

       a. Such animus need not disparage as badly as in Masterpiece Cakeshop. Id. *22.

       b. To even “characterize someone’s religious beliefs [as] insubstantial [or] insincere

           is to disparage his [or her] religion.” Id. (cleaned up).

       c. OSI grossly exceeded this bar, equating HCSMs with “scammers trying to lure

           people.” VC ¶¶204-208.

       d. Such descriptions of HCSMs come from OSI “Press Releases” that Defendant

           explicitly adopts. Interrog. Ans. #4 (Doc. 27-1); see VC ¶¶204-208.

       e. Defendant also has never repudiated or even tempered her State’s association of

           Samaritan with “scams, shams, and frauds.” VC ¶¶794-800.

4. Where discrimination is less egregious—and therefore not categorically barred—strict

   scrutiny applies. Id. *12-22.




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       a. “[Defendant] has not even attempted to explain why its interest is served by

          granting exemptions to [fraternals] but not [HCSMs].” Id. *16.

       b. And Defendant’s “Policy is in no way tailored.” Id. “[It] does not stop exemptions

          [for insurance-like activity]; it stops only exemptions for religious” activity like

          Samaritan’s. Id.

       c. “[Defendant’s] Policy is not generally applicable because it grants secular

          exemptions on more favorable terms than religious exemptions.” Id. *19.

       d. “[M]otivation for the [Insurance Code] is irrelevant…. What matters is how—and

          why—[Defendant has] implemented the” Code the way she has. Id. *22.

       e. “[B]ecause ‘[t]he loss of First Amendment freedoms, for even minimal periods of

          time, unquestionably constitutes irreparable injury,’” and because “the continuing

          harm alleged by [Plaintiffs] outweighs any harm to the public interest,” Plaintiffs

          are entitled to a preliminary injunction. Id. *17.

5. The law was well-established before Defendant’s tenure, precluding qualified immunity.

       a. Does cites/quotes Lukumi (1993) thirteen times and Colorado/Colo. Christian

          (2008) twenty-eight times.

       b. “[Plaintiffs] are likely to succeed on the merits because [Defendant’s] Policy

          clearly violates the Establishment Clause and the Free Exercise Clause as

          interpreted by our precedents.” Id. *12; accord *17.

       Word Count: 484

       Dated this 21st day of May, 2024

                                                         Respectfully submitted,

                                                         COUNSEL FOR PLAINTIFFS




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